JOHN J.Case
         LULEJIAN     (Cal. State Bar No.Document
               2:07-cr-01048-VBF         186783)  103 Filed 01/07/09 Page 1 of 1 Page ID #:220
Assistant United States Attorney
1500 United States Courthouse
312 North Spring Street
Los Angeles, California 90012
Telephone: (213) 894-8603
Facsimile: (213) 894-3713
E-mail: John.Lulejian@usdoj.gov

                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                   CASE NUMBER:

                                                                              CR 07-1048-VBF
                                              PLAINTIFF(S)
                              v.

LASHAWN ANDREA LYNCH,                                                 NOTICE OF MANUAL FILING
                                            DEFENDANT(S).

PLEASE TAKE NOTICE:
          The above-mentioned cause of action has been designated as an electronically filed case. In accordance
with General Order 08-02 and Local Rule 5-4 the following document(s) or item(s) will be manually filed.
    List Documents:
UNDER SEAL DOCUMENTS


          Document Description:
          G      Administrative Record
          G      Exhibits
          G      Ex Parte Application for authorization of investigative, expert or other services pursuant to the
                 Criminal Justice Act (pursuant to Local Rule 79-5.4(h)
          ✔
          G      Other


          Reason:
          ✔
          G      Under Seal
          G      Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
          G      Electronic versions are not available to filer
          G      Per Court order dated
          G      Manual Filing required (reason):


January 7, 2009                                                   JOHN J. LULEJIAN
Date                                                              Attorney Name
                                                                  UNITED STATES OF AMERICA
                                                                  Party Represented
Note: File one Notice in each case, each time you manually file document(s).
G-92 (02/08)                                   NOTICE OF MANUAL FILING
